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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     AT ELKINS

MOUNTAIN VALLEY PIPELINE, LLC,

       Plaintiff,

v.                                                                    Civil Action No. 2:24-cv-12
                                                                      Judge Kleeh
JEROME JAMES WAGNER,

       Defendant.

                                 CERTIFICATE OF SERVICE

       The undersigned, as counsel for Plaintiff Mountain Valley Pipeline, LLC, hereby certifies

that on the 19th day of August, 2024, the Certificate of Service for Plaintiff’s Rule 26(a)(1) Initial

Disclosures was filed via the Court’s CM/ECF system which will send an electronic notification

to counsel of record listed below and that a copy of Plaintiff’s Rule 26(a)(1) Initial Disclosures

was served via US Mail and electronic mail to counsel of record as follows:


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                                               /s/ Christopher S. Etheredge
                                               Christopher S. Etheredge (WVSB No. 13835)




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